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             [ORAL ARGUMENT NOT SCHEDULED]
             Nos. 25-5099, 25-5101, 25-5108 (consol.)

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                           JANE DOE, et al.,
                                    Plaintiffs-Appellees,
                                 v.
       PAMELA BONDI, in her official capacity as Attorney General
                   of the United States, et al.,
                                      Defendants-Appellants.
                       JANE JONES, et al.,
                                      Plaintiffs-Appellees,
                                 v.
       PAMELA BONDI, in her official capacity as Attorney General
                   of the United States, et al.,
                                      Defendants-Appellants.

                            MARIA MOE,
                                     Plaintiff-Appellee,
                                 v.
         DONALD J. TRUMP, in his official capacity as President
                     of the United States, et al.,
                                     Defendants-Appellants.
             On Appeal from the United States District Court
                      for the District of Columbia

           CONSOLIDATED BRIEF FOR APPELLANTS

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           CERTIFICATE AS TO PARTIES, RULINGS, AND
                       RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel

certifies as follows:

      A.     Parties and Amici
      In Jones v. Bondi, plaintiffs in district court, and appellees here, are

five inmates in the custody of the Federal Bureau of Prisons (BOP). With the

permission    of   the    district   court,   those     inmates     are   proceeding

pseudonymously in this litigation. Jones, Dkts. 14, 47. Their pseudonyms

are Jane Jones, Amy Jones, Barbara Jones, Carla Jones, and Donna Jones.

      In Doe v. Bondi, plaintiffs in district court, and appellees here, are 14

inmates in the custody of BOP. With the permission of the district court,

those inmates are proceeding pseudonymously in this litigation. Doe, Dkt.

7. Their pseudonyms are Jane Doe, Mary Doe, Sara Doe, Emily Doe, Zoe

Doe, Tori Doe, Olivia Doe, Susan Doe, Lois Doe, Sophia Doe, Sally Doe,

Wendy Doe, Rachel Doe, and Ellen Doe.

      In Moe v. Trump, plaintiff in district court, and appellee here, is an

inmate in the custody of BOP. With the permission of the district court,

plaintiff is proceeding pseudonymously in this litigation. Moe, Dkts. 7, 67.

The pseudonym being used is Maria Moe.
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      In all three consolidated cases, defendants in district court, and

appellants here, are Pamela Bondi, in her official capacity as Attorney

General of the United States; and William K. Marshall, III, in his official

capacity as Director of BOP.1

      In Moe v. Trump, defendants in district court, and appellants here, also

include Donald J. Trump, in his official capacity as President of the United

States. In Jones v. Bondi, plaintiffs’ original complaint also listed Donald J.

Trump, in his official capacity as President of the United States, as a

defendant.    The Jones plaintiffs later omitted President Trump as a

defendant in filing their Amended Complaint, and the President is thus no

longer a party in that case. See JA341.

      There were no additional parties and no amici curiae in district court,

and none have entered an appearance before this Court.

      B.     Rulings Under Review
      The rulings under review are the February 24, 2025, and March 3,

2025 Orders in Jones (Dkts. 28, 46); the March 10, 2025 Order in Moe (Dkt.



      1 These actions were originally brought against defendant James R.

McHenry, III, in his official capacity as Acting Attorney General of the United
States, and defendant William Lothrop, in his official capacity as Acting
Director of BOP. Attorney General Bondi was automatically substituted as a
party under Federal Rule of Civil Procedure 25(d). Director Marshall was
automatically substituted as a party under Federal Rule of Appellate
Procedure 43(c)(2).

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62); and the February 18, 2025, February 24, 2025, and March 19, 2025

Orders in Doe (Dkts. 44, 55, 68), entered by the Honorable Royce C.

Lamberth, granting plaintiffs’ motions for preliminary injunctions. Some of

the orders are available at Doe v. Bondi, No. 1:25-cv-286, 2025 WL 596653

(D.D.C. Feb. 24, 2025); Doe v. McHenry, No. 1:25-cv-286, 2025 WL 596651

(D.D.C. Feb. 18, 2025); Jones v. Bondi, No. 1:25-cv-401, 2025 WL 923117

(D.D.C. Feb. 24, 2025); and Jones v. Bondi, No. 1:25-cv-401, 2025 WL

923755 (D.D.C. Mar. 3, 2025). The orders are located in the Joint Appendix

at JA168-69 (Doe February 18 Order), JA185-88 (Doe February 24 Order),

JA240-43 (Doe March 19 Order), JA333-34 (Jones February 24 Order),

JA445-49 (Jones March 3 Order), and JA569-71 (Moe March 10 Order).

     C.    Related Cases
     This case has not previously been before this Court. Counsel are aware

of one related case within the meaning of D.C. Circuit Rule 28(a)(1)(C):

Kingdom v. Trump, No. 1:25-cv-691 (D.D.C.).

                                           /s/ McKaye L. Neumeister
                                          McKaye L. Neumeister




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                              GLOSSARY

APA                         Administrative Procedure Act
BJS                         Bureau of Justice Statistics
BOP                         Federal Bureau of Prisons
EO                          Executive Order
JA                          Joint Appendix
PI                          Preliminary Injunction
PLRA                        Prison Litigation Reform Act
PREA                        Prison Rape Elimination Act
TRO                         Temporary Restraining Order
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                             INTRODUCTION

      On January 20, 2025, President Trump issued Executive Order 14168,

Defending Women From Gender Ideology Extremism and Restoring

Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 30,

2025) (EO 14168). Among other things, EO 14168 directs the Federal Bureau

of Prisons (BOP) to ensure that male inmates are not housed in women’s

prisons, in order to protect female inmates’ safety, privacy, and dignity.

Consistent with the executive order, BOP informed male trans-identifying

inmates who were housed in women’s facilities before January 20 that they

would be transferred to men’s prisons, and BOP began to transfer inmates

accordingly.

      Plaintiffs, who are 20 such male trans-identifying inmates housed in

women’s facilities, sued seeking preliminary injunctions to block their

transfer to men’s prisons.      The district court granted the injunctions,

concluding that plaintiffs were likely to succeed in showing that their transfer

to male prisons would constitute cruel and unusual punishment, in violation

of the Eighth Amendment. The district court’s conclusions find no support

in fact or law; and in substituting its policy judgment for that of the Executive

Branch, the court forces the government to perpetuate harm to female
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inmates’ safety, privacy, and dignity.        Accordingly, the preliminary

injunctions should be vacated.

      The district court’s injunctions fundamentally misunderstand the

requirements of the Prison Litigation Reform Act (PLRA) and the Eighth

Amendment. The PLRA requires inmates to raise complaints about the

conditions of confinement within BOP’s administrative grievance scheme

before suing and bars all judicial review of BOP’s housing placement and

transfer decisions. Plaintiffs here failed to satisfy this mandatory exhaustion

requirement and raise challenges to transfer decisions that Congress left to

BOP’s discretion and placed outside the jurisdiction of courts.

      Even if plaintiffs could circumvent these threshold obstacles, their

constitutional claims would fail. The Eighth Amendment’s bar on cruel and

unusual punishment prohibits the wanton infliction of pain caused by

deliberate indifference to inmates’ safety or serious medical needs. Plaintiffs

cannot show that their transfer to male facilities would meet that high bar.

The district court rested its conclusion that plaintiffs would experience

substantially elevated risks of sexual assault in male facilities on statistics

showing that trans-identifying inmates experience violence at higher rates,

on average, than other inmates. But those statistics do not establish that

plaintiffs’ transfer to male prisons would necessarily expose them to a



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uniquely high rate of assault. Ninety-nine percent of male trans-identifying

inmates are currently housed in male prisons, a fact that defeats plaintiffs’

claim that BOP cannot adequately protect trans-identifying inmates housed

in male prisons. Moreover, many male prison facilities in the federal system

have very low rates of sexual assault; indeed, several have lower rates than

female facilities. And plaintiffs’ and the district court’s conclusion that

transferring plaintiffs to male facilities would necessarily place them at a

significantly elevated risk of assault fails to account for measures BOP would

undertake to ensure their safety in such facilities—as BOP has done with

other trans-identifying inmates and even some of the plaintiffs here. For

these reasons, plaintiffs cannot show that merely housing them in male

prisons would expose them to objectively intolerable levels of risk or that

BOP will not take reasonable measures to abate any such risks.

      Fundamentally, plaintiffs’ theory proves too much.            Many male

inmates face an above-average risk of sexual and other assault based on

identifiable characteristics, such as, for example, their offense of conviction,

their sexual orientation, their status as government informants, and their

mental health. Under plaintiffs’ and the district court’s reasoning, BOP

would violate the Eighth Amendment any time it assigned such individuals

to a men’s prison rather than a theoretically lower-risk female prison. That



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is patently wrong. Put simply, the Eighth Amendment does not prevent BOP

from treating males as males and females as females; nor does the

Constitution force BOP to house men with women, endangering female

inmates’ safety, invading their privacy, or causing them significant distress—

especially female inmates who have experienced domestic abuse and sexual

assault from men.

      In addition to being legally erroneous, the district court’s orders harm

the government and the public interest, particularly given the importance of

the policies in the executive order at issue and the complexities of managing

the federal prison system. By requiring all inmates to reside in facilities that

align with their sex, EO 14168 reflects the federal government’s compelling

interest in ensuring the safety, privacy, and dignity of prisoners in federal

custody. Against such harms, plaintiffs identify only a speculative possibility

of future harm from the executive order’s implementation. Accordingly, this

Court should vacate the preliminary injunctions.

                     STATEMENT OF JURISDICTION

      Plaintiffs invoked the district court’s jurisdiction under 28 U.S.C.

§§ 1331, 2201, and 2202. JA201-02; JA340; JA461. On February 18, 2025,

February 24, 2025, March 3, 2025, March 10, 2025, and March 19, 2025, the

district court issued orders granting plaintiffs’ motions for preliminary



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injunctions.     JA168-69; JA185-88; JA240-43; JA333-34; JA445-49;

JA569-71. The federal government filed timely notices of appeal of those

preliminary-injunction orders on April 2, 2025.        JA244-45; JA450-51;

JA572-73; see Fed. R. App. P. 4(a)(1)(B). This Court has jurisdiction under

28 U.S.C. § 1292(a)(1).

                     STATEMENT OF THE ISSUE

      Whether the district court abused its discretion in granting preliminary

injunctions blocking the transfer of male trans-identifying inmates to male

facilities, on the ground that any such transfer violates the Eighth

Amendment.

              PERTINENT STATUTES AND REGULATIONS

      Pertinent statutes and regulations are reproduced in the addendum to

this brief.

                      STATEMENT OF THE CASE

      A.      Executive Order 14168
      On January 20, 2025, President Trump issued Executive Order 14168,

Defending Women From Gender Ideology Extremism and Restoring

Biological Truth to the Federal Government. EO 14168, 90 Fed. Reg. 8615.

The order proclaims that, as a result of “deny[ing] the biological reality of

sex,” “legal and other socially coercive means” have increasingly been used

“to permit men to self-identify as women and gain access to intimate single-

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sex spaces and activities designed for women.” Id. § 1, 90 Fed. Reg. at 8615.

“Efforts to eradicate the biological reality of sex fundamentally attack women

by depriving them of their dignity, safety, and well-being.” Id. The executive

order’s purpose is thus to “defend women’s rights and protect freedom of

conscience by using clear and accurate language and policies that recognize

women are biologically female, and men are biologically male.” Id. The

order directs that “[i]t is the policy of the United States to recognize two

sexes, male and female,” which “are not changeable and are grounded in

fundamental and incontrovertible reality.” Id. § 2, 90 Fed. Reg. at 8615.

Further, “the Executive Branch will enforce all sex-protective laws to

promote this reality.” Id. The order also directs that it “shall be implemented

consistent with applicable law.” Id. § 8(b), 90 Fed. Reg. at 8618.

      As to “privacy in intimate spaces” in particular, EO 14168, § 4, 90 Fed.

Reg. at 8616 (formatting altered), the order contains specific directives

regarding the Federal Bureau of Prisons. As relevant here, Section 4(a)

requires the Attorney General to “ensure that males are not detained in

women’s prisons or housed in women’s detention centers, including through

amendment, as necessary, of Part 115.41 of title 28, Code of Federal




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Regulations and interpretation guidance regarding the Americans with

Disabilities Act.” Id. § 4(a), 90 Fed. Reg. at 8616.2

      B.    BOP’s Designation Authority and Management of
            Trans-Identifying Inmates
      1.    Decisions on classification and designation of inmates to a

particular prison facility are vested in BOP. See 18 U.S.C. § 3621(b). In

making decisions regarding “the place of [a] prisoner’s imprisonment,” BOP

“may designate any available penal or correctional facility that meets

minimum standards of health and habitability established by the Bureau …

that the Bureau determines to be appropriate and suitable.”                  Id.

Additionally, “[t]he Bureau may at any time … direct the transfer of a

prisoner from one penal or correctional facility to another.” Id. And the

statute expressly provides that “[n]otwithstanding any other provision of

law, a designation of a place of imprisonment under this subsection is not

reviewable by any court.” Id.

      In designating inmates to a facility, BOP follows the applicable

regulations under the Prison Rape Elimination Act (PREA). During intake

and upon transfer, BOP screens inmates for “their risk of being sexually

abused by other inmates or sexually abusive toward other inmates.” 28


      2 The other directive to BOP—Section 4(c), which pertains to medical

care for inmates—is implicated in the district court litigation in these cases
but is not at issue in this appeal.

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C.F.R. § 115.41(a). This information is used to “inform housing, bed, work,

education, and program assignments with the goal of keeping separate those

inmates at high risk of being sexually victimized from those at high risk of

being sexually abusive.” Id. § 115.42(a). Regarding the assignment of trans-

identifying inmates in particular, BOP “considers on a case-by-case basis

whether a placement would ensure the inmate’s health and safety, and

whether the placement would present management or security problems.”

JA177-78 (Stover Second Doe Decl. ¶ 26); see 28 C.F.R. § 115.42(c).

      2.   Previously, BOP used a specialized decisionmaking body to

handle the placements of the trans-identifying inmate population. As BOP

has explained in former guidance documents, this body—called the

“Transgender Executive Council”—oversaw the initial facility designations of

trans-identifying inmates, and “review[ed] all transfers” of trans-identifying

inmates “for approval.” JA123, 124-25. From May 2018 to January 2022,

the guidance provided that in deciding the facility assignment for a trans-

identifying inmate, BOP would “use biological sex as the initial

determination for designation.” JA103. The guidance further provided that

“designation to a facility of the inmate’s identified gender would be

appropriate only in rare cases after consideration of all of the [identified]

factors.” JA103. In January 2022, BOP revised the guidance to state that in



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deciding the facility assignment for a trans-identifying inmate, the

Transgender Executive Council would consider as one factor, among other

things, the inmate’s “current gender expression.” See JA125. Pursuant to

EO 14168, BOP has rescinded this guidance and disbanded the Transgender

Executive Council.3

      Now, the Designation and Sentence Computation Center makes the

initial placement and transfer decisions for all trans-identifying inmates, just

as it does for the rest of BOP’s inmate population. BOP, Program Statement

5100.08, Inmate Security Designation and Custody Classification, ch. 1, at

1-3 (Mar. 6, 2025), https://perma.cc/G43K-8BD8.

      3.    When trans-identifying inmates wish to raise concerns about

their treatment in BOP custody, like all other inmates they must pursue

BOP’s Administrative Remedy Program before bringing any legal action. See

42 U.S.C. § 1997e(a) (PLRA exhaustion requirement). The program has four

levels: aggrieved inmates must first attempt an informal resolution with unit




      3 The responsibility for trans-identifying inmate housing decisions was

then briefly taken over by the Special Populations Oversight Committee,
which has also since disbanded. See Memorandum from Dana R.
DiGiacomo, Acting Assistant Dir., Reentry Servs. Div., BOP, and S. Salem,
Assistant Dir., Corr. Programs Div., BOP, to All Chief Exec. Officers,
Compliance with Executive Order “Defending Women from Gender
Ideology Extremism and Restoring Biological Truth to the Federal
Government” 2 (Feb. 21, 2025), https://perma.cc/J5K2-3NU5.

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staff, then submit an administrative remedy request to the Warden, then

appeal to BOP’s Regional Director, and then, if necessary, appeal to BOP’s

General Counsel. See 28 C.F.R. §§ 542.13-.15. After fully exhausting this

administrative review process, if the inmate’s concerns have not been

resolved, the inmate can pursue legal action.

         For complaints regarding sexual assault and harassment, in particular,

there are numerous ways for inmates to report incidents. “An inmate can

write directly to the Warden, Regional Director or Director” of BOP; “file a

Request for Administrative Remedy”; or contact the U.S. Department of

Justice Office of Inspector General directly. JA310 (Stover First Jones Decl.

¶ 16).

         4.   BOP, however, does not merely wait to react to any such

complaints. Rather, staff are trained to “monitor” and proactively “intervene

when they observe problematic interactions between inmates.”              JA178

(Stover Second Doe Decl. ¶ 28). BOP implements a “zero tolerance” policy

toward “sexual abuse and sexual harassment,” and provides “[r]outine

training” to all staff “to help detect incidents, perpetrators, and inmate

victims of sexually abusive behavior,” and instruction on how to properly and

timely intervene. JA178 (Stover Second Doe Decl. ¶ 27). If staff ever have

reason to “believe that an inmate’s safety may be jeopardized by placement



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in the general population,” staff can temporarily move the inmate to “more

restrictive conditions as a protective custody case in the Special Housing

Unit,” to ensure inmate safety while determining how to properly protect the

inmate going forward. JA394 (Stover Second Jones Decl. ¶ 25); see JA179

(Stover Second Doe Decl. ¶ 30).

      Staff at each institution also regularly review a file regarding certain

inmates, including those who “present a threat to staff or institutional

security,” or “pose a significant threat to inmate … safety.” JA178 (Stover

Second Doe Decl. ¶ 28). Staff review the file “for the purpose of determining

inmates with a history of assaultive behavior or a history of sexual offenses,

for the purpose of keeping the institution safe and secure.” Id.

      C.    Factual Background
      1.    There are approximately 2,198 trans-identifying inmates housed

in BOP facilities and halfway houses. JA174 (Stover Second Doe Decl. ¶ 5)

(describing trans-identifying inmate population as of February 20, 2025). Of

those, 1,488 are male inmates who trans-identify as female, and 710 are

female inmates trans-identifying as male. Id. Of the 1,488 male trans-

identifying inmates, 22 were housed in female institutions as of February 20,

2025. Id.




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      2.    Plaintiffs are 20 male trans-identifying inmates in BOP custody

who were housed in female facilities at the time EO 14168 was issued. They

are proceeding in this litigation under the pseudonyms Jane, Mary, Sara,

Emily, Zoe, Tori, Olivia, Susan, Lois, Sophia, Sally, Wendy, Rachel, and Ellen

Doe; Jane, Amy, Barbara, Carla, and Donna Jones; and Maria Moe. See Doe,

Dkt. 7; Jones, Dkts. 14, 47; Moe, Dkts. 7, 67. Plaintiffs allege that, although

their “birth sex” is male, they identify as female, take cross-sex hormones,

and have been housed in female prison facilities. Some of the plaintiffs have

had cross-sex surgeries. See JA190-200, 211; JA336-39, 344; JA460, 465.

      Following the issuance of EO 14168, BOP officials informed plaintiffs

that they would be transferred to men’s facilities. JA205-06; JA342-43;

JA463. BOP individually reviewed the housing placements for the plaintiffs,

taking “into consideration the inmates’ assigned security level, disciplinary

record, medical record, and psychology record.” JA174 (Stover Second Doe

Decl. ¶ 10); see JA390 (Stover Second Jones Decl. ¶ 11); JA239 (Associate

Warden Doe Decl. ¶ 6); JA307 (Stover First Jones Decl. ¶ 7); JA100 (Stover

First Doe Decl. ¶ 11); JA513, 910 (Stover Moe Decl. ¶ 10).

      Through that review, BOP determined that plaintiffs should be

assigned to low-security male facilities. JA307, 747 (Stover First Jones Decl.

¶ 8); JA100-01, 653-54 (Stover First Doe Decl. ¶ 12); JA513, 910 (Stover Moe



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Decl. ¶ 11); JA390, 824 (Stover Second Jones Decl. ¶ 12); JA175-76, 657-58

(Stover Second Doe Decl. ¶¶ 12-16); JA239, 710 (Associate Warden Doe Decl.

¶ 5). The particular facilities selected house “a large number of nonviolent

offenders” whose crimes of incarceration did “not involve a threat of harm or

an actual attack upon a victim,” and who “tend to have minor infractions in

their disciplinary history with [BOP].” JA307, 747 (Stover First Jones Decl.

¶ 8).     “Based on the [BOP decisionmakers’] experience and range of

expertise, placing [plaintiffs] at a low security institution with non-violent

offenders would minimize the likelihood that they would be victimized.”

JA100-01, 653-54 (Stover First Doe Decl. ¶ 12); see JA390, 824 (Stover

Second Jones Decl. ¶ 13); JA307-08, 747-48 (Stover First Jones Decl.

¶¶ 8-9); JA176-77, 658-59 (Stover Second Doe Decl. ¶¶ 18, 25); JA513, 910

(Stover Moe Decl. ¶ 11).

        Specifically, BOP observed that the rates of sexual assault at the chosen

facilities were low, and that the overall rates of assault are often lower than

at the female facilities where plaintiffs are currently housed. See JA176-77,

658-59 (Stover Second Doe Decl. ¶¶ 19-23); JA308, 748 (Stover First Jones

Decl. ¶ 9); JA390-91, 824-25 (Stover Second Jones Decl. ¶¶ 13-16); see also

JA391, 825 (Stover Second Jones Decl. ¶ 16) (“In the seven facilities that the

Jones and Doe plaintiffs may be transferred, there was only one guilty



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finding … of sexual assault … in 2024.”). And BOP noted that various

facilities it has selected for plaintiffs’ new housing assignments already house

“other inmates who identify as female, thereby ensuring that the staff

members at the facilities are experienced in managing and providing care to

this special population.” JA177, 659 (Stover Second Doe Decl. ¶ 24); see

JA308, 748 (Stover First Jones Decl. ¶ 9); JA390-91, 824-25 (Stover Second

Jones Decl. ¶¶ 12-15).

      D.     Prior Proceedings
      Plaintiffs brought three lawsuits against the Attorney General and the

Director of BOP,4 challenging the transfer of plaintiffs to male facilities and

the alleged imminent cessation of certain medical treatment for their gender

dysphoria.    Plaintiffs collectively assert that the relevant provisions of

EO 14168, BOP’s implementation of those provisions, and the resulting

anticipated transfer of plaintiffs to male facilities and alleged termination of

hormone interventions would violate Equal Protection principles, the Eighth

Amendment, the Rehabilitation Act, the Administrative Procedure Act


      4 The complaints originally named the Acting Attorney General and

Acting Director of BOP; upon taking office, the Attorney General and
Director were automatically substituted as defendants. See Fed. R. Civ. P.
25(d); Fed. R. App. P. 43(c)(2). Although President Trump is also currently
named as a defendant in one of these actions, no relief is available against
the President. See Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir. 2010)
(“[C]ourts do not have jurisdiction to enjoin [the President], and have never
submitted the President to declaratory relief[.]” (citation omitted)).

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(APA), and the separation of powers. See JA213-23; JA356-67; JA472-81.

Plaintiffs seek a declaratory judgment that Section 4(a) and 4(c) of EO 14168

violate plaintiffs’ legal and constitutional rights, damages and costs, and

injunctive relief prohibiting the government “from implementing Sectio[n]

4(a) and 4(c) of Executive Order 14168, and requiring Defendants to

maintain Plaintiffs’ housing and medical treatment consistent with the status

quo before January 20, 2025.” JA223; see JA367; JA481.

      1.   Plaintiffs Jane, Mary, and Sara Doe filed their action on January

30, 2025, simultaneously moving for a temporary restraining order (TRO)

and preliminary injunction (PI). See Doe, Dkt. 5. The government filed an

opposition to the TRO motion on February 3. Doe, Dkt. 11. On February 4,

the district court held a hearing and issued a nationwide TRO barring BOP

from transferring any inmates pursuant to EO 14168. See JA157-67 (TRO

Order).

      a.   The district court determined that it had jurisdiction to entertain

the motion, explaining that the exclusion of review over BOP placement

decisions in 18 U.S.C. § 3621(b) did not foreclose review of constitutional

claims, and that plaintiffs did not need to first pursue their claims through

BOP’s administrative grievance process under the PLRA’s exhaustion

requirements, because no relief was available through that process.



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JA159-63 (TRO Order 3-7). On the merits, the court concluded that plaintiffs

were likely to succeed on their Eighth Amendment claims.5 As relevant here,

the court observed that the claims were ripe because EO 14168 afforded BOP

“no discretion to keep the plaintiffs in a female penitentiary, nor to continue

providing hormonal therapy.”       JA165 (TRO Order 9).6        And the court

concluded that plaintiffs had established objectively intolerable risks of

harm—of which BOP was aware—with respect to transfer and termination of

hormones. JA164-65 (TRO Order 8-9). Finally, the court concluded that the

remaining TRO factors favored plaintiffs. JA166-67 (TRO Order 10-11).

      The district court ordered “that the defendants are temporarily

enjoined and restrained from implementing Sectio[n] 4(a) and 4(c) of

Executive Order 14168, pending further Order of this Court,” and that

“defendants shall maintain and continue the plaintiffs’ housing status and

medical care as they existed immediately prior to January 20, 2025.” JA167

(TRO Order 11).




      5 The court has declined to reach plaintiffs’ other claims.    See JA158
(TRO Order 2); JA187.
      6 The government maintains that the district court’s understanding of

EO 14168 with respect to hormone medication is incorrect. See Doe, Dkt. 11,
at 3; Doe, Dkt. 63; Defendants’ Response to Plaintiffs’ Motion for a PI at 1,
13, Kingdom v. Trump, No. 1:25-cv-691 (D.D.C. Mar. 28, 2025), Dkt. 36. In
any event, plaintiffs’ medical-treatment claims are not at issue in this appeal.

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      b.    On February 18, 2025, the district court converted the TRO to a

preliminary injunction and narrowed the scope of that injunction to cover

only the plaintiffs. JA168-69. The court enjoined the government “from

implementing Sectio[n] 4(a) and 4(c) of Executive Order 14168 against

plaintiffs Jane, Mary and Sara Doe, pending further Order of this Court,” and

again ordered that the government “shall maintain and continue the

plaintiffs’ housing status and medical care as they existed immediately prior

to January 20, 2025,” pending further court order. JA169.

      c.    On February 21, the Doe plaintiffs filed an amended complaint,

adding nine new individuals as plaintiffs: Emily, Zoe, Tori, Olivia, Susan,

Lois, Sophia, Sally, and Wendy Doe. Doe, Dkt. 47. At the same time, the Doe

plaintiffs moved for a TRO and expanded PI to cover the new plaintiffs. Doe,

Dkt. 50.

      On February 24, the district court granted the motion, determining

that “the same reasoning from the Court’s original TRO Order … still applies,

with nothing in the record to compel a different outcome.” JA186. In

opposition to this new motion, the government had provided a declaration

explaining that BOP individually reevaluated the plaintiffs’ placements and

identified specific low-security men’s facilities at which to place plaintiffs,

where the risk of victimization would be minimized. JA174, 176, 656, 658



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(Stover Second Doe Decl. ¶¶ 10-11, 18); see JA186. But according to the court,

the fact that BOP had previously deemed “a women’s facility [as] the

appropriate facility for each named plaintiff”—and only reassessed their

housing due to EO 14168—was alone sufficient to establish likely success on

the merits of the Eighth Amendment claim. JA186-87. The court thus

enjoined the government from implementing EO 14168 as to the original

three plaintiffs and nine new plaintiffs, and required BOP to continue the

same “housing status and medical care [for plaintiffs] as they existed

immediately prior to January 20, 2025.” JA187-88.

      d.    On March 14, the Doe plaintiffs moved to file a second amended

complaint to add two additional individual plaintiffs—Rachel and Ellen

Doe—and moved for additional emergency relief that same day. Doe, Dkts.

58, 61.    The district court granted the motion on March 19, issuing a

preliminary injunction covering just those two new plaintiffs. JA240-43.

      The district court determined that the two new plaintiffs were similarly

situated to the other 12, with the caveat that they had already been

transferred to male facilities. JA240-41. The court noted that the new

plaintiffs presented new factual allegations, but “even supposing that … each

of the plaintiffs’ new arguments is either factually or legally defunct, the new

plaintiffs are at least as strongly situated, in terms of the merits of their



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Eighth Amendment claims, as the existing plaintiffs,” and, if anything, the

balance of the equities and irreparable harm prongs were more favorable to

these new plaintiffs.     JA241.   Accordingly, the court concluded that a

preliminary injunction was appropriate “for the same reasons that it was

appropriate for the existing [plaintiffs].” JA242. The court thus enjoined the

government from implementing EO 14168 against the two new plaintiffs, and

ordered BOP to “immediately transfer plaintiffs Rachel Doe and Ellen Doe

back to women’s penitentiaries.” JA243.

      2.    Plaintiff Jane Jones filed a second action on February 10, 2025,

listing the case as related to Doe, and moved for a TRO and PI on February

21. See Jones, Dkts. 1, 2, 21. The district court granted the motion on

February 24, determining that “the same reasoning from the Court’s TRO

Order in Doe v. McHenry applies here,” and “also appl[ying] the reasoning

from the Court’s most recent [February 24] Order in Doe v. Bondi, granting

the plaintiffs’ renewed Motion for TRO and Preliminary Injunction in that

case.” JA333. The court thus enjoined the government from implementing

EO 14168 against Jones, and directed BOP to “maintain and continue

[Jones’s] housing status and medical care as they existed immediately prior

to January 20, 2025.” JA334.




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      On February 28, an amended complaint was filed in the Jones action,

adding four new individual plaintiffs—Amy, Barbara, Carla, and Donna

Jones—and a second motion for a TRO and PI was filed. JA335-68; Jones,

Dkt. 37. On March 3, the district court granted the motion, determining

again that “the same reasoning from the Court’s TRO Order in the related

case, Doe v. McHenry, applies here.” JA445. The court also reiterated its

conclusion that the fact that BOP had previously “determined that women’s

facilities are the appropriate facilities for Plaintiffs,” and now seeks a

“blanket removal of the plaintiffs from their appropriate housing placement

with no discretion to place them in any women’s facility” due only to the

executive order, “suggests … a likelihood of success on the merits.”

JA446-47. The court thus issued the same preliminary injunction as to the

four additional Jones plaintiffs. JA449.

      3.   Plaintiff Moe brought the third action on January 26, 2025, in

the District of Massachusetts, simultaneously moving for a TRO and PI. See

JA459-82; Moe, Dkt. 3. The district court there entered an ex parte TRO

with no reasoning that same day. JA485. The case was then transferred to

the district where Moe is incarcerated, Moe, Dkt. 41, before being transferred

to the District Court for the District of Columbia, see Moe, Dkt. 60, and

assigned to the same district judge as the other two actions. The district



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court granted Moe’s motion for a preliminary injunction on March 10,

explaining that Moe “is similarly situated to the plaintiffs in” Doe and Jones,

and determining “that the same reasoning from the Court’s TRO and PI

Orders in those cases applies here.” JA569-70.

      4.    The government filed timely notices of appeal in all three actions,

and moved to consolidate the cases on appeal for purposes of briefing,

argument, and disposition. The government further moved to expedite the

appeals. The Court granted those motions on April 30, 2025.

                      SUMMARY OF ARGUMENT

      I.    The Eighth Amendment prohibits the “unnecessary and wanton

infliction of pain” on criminal inmates in federal custody.         Farmer v.

Brennan, 511 U.S. 825, 834 (1994) (quotation marks omitted). Plaintiffs

contend that transferring them to male prison facilities and housing them

alongside other male inmates would categorically violate that prohibition by

subjecting plaintiffs to the threat of harm from their fellow inmates. This

challenge is unlikely to succeed on the merits both because it is barred by the

PLRA and because it fails to establish the substantive elements of an Eighth

Amendment claim.

      A.    The PLRA provides that BOP’s “designation of a place of

imprisonment … is not reviewable by any court.”          18 U.S.C. § 3621(b).



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Congress has thus expressly precluded judicial review of BOP’s decisions to

house these particular inmates in certain low-security male facilities. And

even if judicial review of those decisions were permissible, plaintiffs have not

satisfied the PLRA’s mandatory exhaustion requirement by pursuing

complaints regarding their transfer to male facilities through BOP’s

Administrative Remedy Program before bringing suit.

      B.    Plaintiffs’ Eighth Amendment claims fail in any event. To state a

claim that prison officials violated the Eighth Amendment when they made

the decision to transfer plaintiffs to male facilities, plaintiffs must show that

the conditions in the chosen male facilities pose “a substantial risk of serious

harm” and that the officials acted with “‘deliberate indifference’ to inmate

health or safety.” Farmer, 511 U.S. at 834. Plaintiffs cannot establish either

of those elements here.

      Housing male trans-identifying inmates in male prison facilities does

not expose those inmates to objectively intolerable risks of harm. Over 1,400

male trans-identifying inmates in BOP custody are housed in male facilities.

Plaintiffs have not established that those inmates face a pervasive threat of

violence and sexual assault in any male facility, much less the low-security

facilities to which plaintiffs have been designated. To the contrary, BOP’s

assault data confirms the low rate of assaults in those facilities, including



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only one guilty finding of sexual assault in the seven facilities at issue in all

of 2024. JA391, 825 (Stover Second Jones Decl. ¶ 16).

      And even assuming that plaintiffs would face an objectively substantial

risk of harm in male facilities, BOP has not been deliberately indifferent to

any such risks; rather, it has procedures designed to handle any specific risk

of assault to an inmate and officials trained to reasonably respond to any

known risk. And it considered and responded reasonably to possible safety

concerns here by selecting particular male facilities with low rates of violence

and existing trans-identifying inmate population as destination facilities for

plaintiffs. The mere fact that BOP knows that these 20 plaintiffs are trans-

identifying and is choosing to house them with other male inmates alone

does not evidence deliberate indifference to those inmates’ safety, just as it

does not establish deliberate indifference to the safety of the hundreds of

other male trans-identifying inmates in male BOP facilities.

      Plaintiffs’ theory essentially posits that anytime a male inmate would

face an elevated risk of assault in men’s prisons, it would constitute cruel and

unusual punishment not to transfer that inmate to a women’s prison. But

there are any number of reasons that individuals might face above-average

risks of assault from their fellow male inmates, such as their underlying

offense of conviction or mental health issues. The Constitution clearly does



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not require BOP to jeopardize the safety, bodily privacy, and well-being of

the female inmates in its custody by assigning all such male inmates to

women’s prisons. Plaintiffs’ understanding of the Eighth Amendment is thus

fatally overbroad.

      II.   Nor have plaintiffs demonstrated that the remaining PI factors

are satisfied. Although plaintiffs fear becoming possible victims of violence

in male facilities, the record does not establish that any such victimization is

certain or imminent at the particular low-security facilities to which they will

be transferred. Moreover, the preliminary injunctions disrupt important

Executive Branch policy judgments, disregard BOP’s exercise of its expertise

in the difficult and sensitive task of managing the federal prison system, and

ignore the harm to female inmates’ safety, privacy, and dignity from male

inmates being housed in a female prison. The district court thus abused its

discretion in concluding that the irreparable harm prong or the public

interest and balance of the equities support blocking these transfers.

      III. Finally, the preliminary injunctions do not comport with the

PLRA’s stringent procedural and scope requirements for preliminary-

injunctive relief. In issuing such relief, courts must determine that it is

narrowly drawn and the least intrusive means necessary to remedy the

identified harm. 18 U.S.C. § 3626(a)(2). The district court neglected to make



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that finding for the first five PI orders, and improperly summarily addressed

the PLRA in the sixth order; regardless, there are less intrusive ways of

ensuring plaintiffs’ safety than entirely barring any transfer to male facilities.

                         STANDARD OF REVIEW

      This Court “review[s] the district court’s balancing of the preliminary

injunction factors for abuse of discretion and review[s] questions of law

underlying the district court’s decision de novo.” Abdullah v. Obama, 753

F.3d 193, 197-98 (D.C. Cir. 2014). Although “factual findings” are generally

reviewed “for clear error,” where findings are based “upon a mistaken

impression of applicable legal principles, the reviewing court is not bound by

the clearly erroneous standard.” Alexander v. S.C. State Conf. of the NAACP,

602 U.S. 1, 18 (2024) (quotation marks omitted).

                                 ARGUMENT

I.    Plaintiffs Have Not Shown A Likelihood Of Success On
      The Merits Of Their Eighth Amendment Transfer
      Claims.

      “A preliminary injunction is ‘an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.’”

Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011) (quoting Winter v.

Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)). “A plaintiff seeking

a preliminary injunction must establish [1] that he is likely to succeed on the

merits, [2] that he is likely to suffer irreparable harm in the absence of

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preliminary relief, [3] that the balance of equities tips in his favor, and

[4] that an injunction is in the public interest.” Abdullah v. Obama, 753 F.3d

193, 197 (D.C. Cir. 2014) (alterations in original) (quotation marks omitted).

“[T]he movant has the burden to show that all four factors, taken together,

weigh in favor of the injunction.” Id. (quoting Davis v. Pension Benefit Guar.

Corp., 571 F.3d 1288, 1292 (D.C. Cir. 2009)). A preliminary injunction

cannot issue if plaintiffs fail to satisfy any of these factors. See Winter, 555

U.S. at 32. Plaintiffs have not done so here.

      A.    The Prison Litigation Reform Act Bars this
            Challenge.
      Because plaintiffs’ Eighth Amendment claims regarding their transfer

to male facilities challenge the conditions of their confinement, this suit is

squarely foreclosed by the Prison Litigation Reform Act. The PLRA creates

a carefully reticulated scheme for “the entry and termination of prospective

relief in civil actions challenging prison conditions.” Miller v. French, 530

U.S. 327, 331 (2000). The statute applies to “any civil proceeding arising

under Federal law with respect to the conditions of confinement or the effects

of actions by government officials on the lives of persons confined in prison.”

18 U.S.C. § 3626(g)(2). The PLRA renders the district court’s PI orders

invalid for two independent reasons.




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      1.    The PLRA bars judicial review of BOP decisions regarding where

to house a particular inmate. In general, the PLRA grants BOP broad

discretion to determine an inmate’s “[p]lace of imprisonment.” 18 U.S.C.

§ 3621(b) (emphasis omitted). The relevant provision directs that BOP “may

designate any available penal or correctional facility that meets minimum

standards of health and habitability established by the Bureau,” taking into

account certain factors. Id. The statute further provides that BOP “may at

any time, having regard for the same matters, direct the transfer of a prisoner

from one penal or correctional facility to another.” Id. And at the conclusion

of this provision, Congress shielded all such decisions from judicial

interference, providing that “[n]otwithstanding any other provision of law, a

designation of a place of imprisonment under this subsection is not

reviewable by any court.” Id. The district court improperly disregarded this

restriction in reviewing whether plaintiffs should remain at the female

facilities where they are currently incarcerated and blocking plaintiffs’

transfer to low-security male facilities, as BOP has determined would be

appropriate.

      The district court acknowledged that the PLRA may “foreclose any APA

challenges to facility designations and transfer decisions,” but held that it

does not “divest the Court of jurisdiction to entertain constitutional claims



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arising from BOP facility designations.” JA159-60 (TRO Order 3-4). This is

incorrect. Congress used clear, categorical language to establish that such

decisions were entirely exempt from “review[] by any court.” 18 U.S.C.

§ 3621(b).   This Court has determined that similar language precluded

review of as-applied constitutional claims. See McBryde v. Committee to

Review Circuit Council Conduct & Disability Orders of the Judicial

Conference, 264 F.3d 52, 58, 60 (D.C. Cir. 2001) (holding that statute

providing that actions “‘shall not be judicially reviewable on appeal or

otherwise’” had the “the requisite clarity of preclusive intent”). The same is

true here as to plaintiffs’ Eighth Amendment transfer claims.

      Accordingly, other circuits have recognized that § 3621(b) precludes

review of challenges to BOP’s placement decisions where the plaintiffs raise

constitutional claims challenging their individual placements. See Wills v.

Barnhardt, No. 21-1383, 2022 WL 4481492, at *4 (10th Cir. Sept. 27, 2022)

(no “jurisdiction to review” due process challenge to “the BOP’s decision on

[the plaintiff’s] transfer request”); Touizer v. U.S. Attorney Gen.,

No. 21-10761, 2021 WL 3829618, at *2 (11th Cir. Aug. 27, 2021) (per curiam)

(no jurisdiction to order transfer to home confinement, citing § 3621(b),

where inmate raised First, Fifth, and Eighth Amendment claims); Jiau v.

Tews, 812 F. App’x 638, 639 (9th Cir. 2020) (no jurisdiction over due process



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claim challenging length of placement in residential reentry center under

§ 3621(b)). The Tenth Circuit expressly rejected the argument that the text

of § 3621(b) did not apply to constitutional challenges, explaining that

“§ 3621(b) contains no such limiting language.” Wills, 2022 WL 4481492, at

*4. Plaintiffs here similarly challenge BOP’s placement determinations,

asserting that their individual transfers to male facilities will violate their

Eighth Amendment rights given the conditions at those facilities. See JA165

(TRO Order 9) (“[P]laintiffs’ alleged constitutional harms would arise

entirely and narrowly out of their placement in a male penitentiary … .”).

Such challenges are “not reviewable by any court.” 18 U.S.C. § 3621(b).

      2.    Further, the PLRA requires plaintiffs to exhaust their claims

within prison remedial schemes before seeking judicial relief. See 42 U.S.C.

§ 1997e(a) (“No action shall be brought with respect to prison conditions

under section 1983 of this title, or any other Federal law, by a prisoner

confined in any jail, prison, or other correctional facility until such

administrative remedies as are available are exhausted.”). The Supreme

Court has emphasized “that exhaustion is mandatory under the PLRA and

that unexhausted claims cannot be brought in court.” Jones v. Bock, 549

U.S. 199, 211 (2007). So long as administrative remedies are “available,” “a

court may not excuse a failure to exhaust” under the PLRA, “even to take



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[special] circumstances into account.” Ross v. Blake, 578 U.S. 632, 638-39

(2016).

      Plaintiffs do not claim to have satisfied the PLRA’s requirement to

“complete the administrative review process in accordance with the

applicable procedural rules.” Bock, 549 U.S. at 218 (quoting Woodford v.

Ngo, 548 U.S. 81, 88 (2006)). BOP’s Administrative Remedy Program has

four levels: aggrieved individuals must first attempt an informal resolution

with unit staff, then submit an administrative remedy request to the Warden,

then appeal to BOP’s Regional Director, and then, if necessary, appeal to

BOP’s General Counsel. See 28 C.F.R. §§ 542.13-.15. This process was

“available” to plaintiffs. Ross, 578 U.S. at 638-39; see Savage v. U.S. Dep’t

of Justice, 91 F.4th 480, 484 (D.C. Cir. 2024) (“[A] grievance procedure is

‘available’ to a prisoner if it is ‘capable of use to obtain some relief for the

action complained of.’”).7

      The district court nonetheless determined that exhaustion was not

required because plaintiffs satisfied “a narrow exception to the

administrative exhaustion requirement” whereby exhaustion would




      7 A procedure is “available” under the PLRA even if it cannot provide

“the remedial action an inmate demands”; prison officials need only have
“authority to take some action in response to a complaint.” Booth v.
Churner, 532 U.S. 731, 736 (2001) (emphasis added).

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“‘operate[] as a simple dead end—with officers unable or consistently

unwilling to provide any relief to aggrieved inmates.’” JA161 (TRO Order 5)

(quoting Ross, 578 U.S. at 643). The court explained that EO 14168 “plainly

requires the BOP to perform the allegedly unlawful facility transfer” and BOP

thus lacks “discretion to provide” any relief “that would remedy the plaintiffs’

supposed constitutional violations.” JA161 (TRO Order 5). That conclusion

misconstrues the nature of plaintiffs’ claims, and conflates the failure to

provide the precise relief that plaintiffs seek with the ability to take any action

on plaintiffs’ complaints at all.

      The district court stated that “the alleged constitutional violation arises

from the forthcoming transfer to a male penitentiary,” an “actio[n] which the

BOP has no discretion not to take.” JA163 (TRO Order 7). But the alleged

constitutional violation at issue involves the Eighth Amendment right to be

free from cruel and unusual punishment, and specifically the knowing failure

to protect plaintiffs from violence at the hands of their fellow inmates.

Contrary to the court’s suggestion, it is not the transfer alone that would be

deemed to violate the Eighth Amendment; rather, plaintiffs must show that

the risk of harm to plaintiffs in a male facility following transfer is

constitutionally impermissible, and BOP’s efforts to address that risk are

constitutionally inadequate. This requires a fact-specific evaluation of the



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circumstances of plaintiffs’ confinement. Although BOP lacks discretion to

continue housing plaintiffs in female facilities under EO 14168, there are any

number of actions that BOP can take to protect their safety in a male facility,

including changes to housing and programming assignments, and protective

custody. See 28 C.F.R. § 115.42; JA308-10 (Stover First Jones Decl. ¶¶ 11-15).

If plaintiffs raised concerns about their safety in a male facility through the

Administrative Remedy Program, BOP could thus take action to pursue

additional safety measures.

      The district court effectively concluded that because BOP’s

administrative scheme cannot give plaintiffs the precise relief they seek in

this litigation—a halt to the transfer—it can provide no remedy at all. But the

specific “exception” to exhaustion under which the court exercised review

does not stretch so broadly; it only covers circumstances where there is truly

“no … potential” for “‘any relief.’” Ross, 578 U.S. at 642-43 (contemplating

circumstances where the office at issue “disclaims the capacity to consider”

grievances and “‘lacks authority to provide any relief,’” or as a factual matter

“decline[s] ever to exercise” its authority). Remedies are “available” under

the PLRA where officials have “authority to take some responsive action with

respect to the type of allegations” raised, even if they cannot provide “the

specific relief the prisoner demands.” Booth v. Churner, 532 U.S. 731, 737



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n.4, 738 (2001) (emphasis added); cf. Kaemmerling v. Lappin, 553 F.3d 669,

675 (D.C. Cir. 2008) (holding that exhaustion was not required where “BOP

could not articulate a single possible way the prison’s administrative system

could provide relief or take any action at all in response to” the inmate’s

complaint).

      BOP has discretion to take a variety of actions (other than continuing

to house them in female facilities) to address plaintiffs’ concerns regarding

safety, should plaintiffs properly raise such grievances. Accordingly, the

PLRA requires plaintiffs to exhaust their Eighth Amendment claims through

BOP’s administrative complaint scheme.

      B.      The Eighth Amendment Does Not Require BOP to
              House Plaintiffs, Who Are Male Inmates, in
              Female Prisons.

      “[T]he segregation of inmates by sex is unquestionably constitutional.”

Women Prisoners of D.C. Dep’t of Corr. v. District of Columbia, 93 F.3d 910,

926 (D.C. Cir. 1996). The district court abused its discretion in nonetheless

concluding that BOP’s decision to transfer the all-male plaintiffs to male

prisons likely violated the Eighth Amendment.            Under the Eighth

Amendment’s prohibition of “cruel and unusual punishments,” prison

officials must “take reasonable measures to guarantee the safety of the

inmates,” which includes “protect[ing] prisoners from violence at the hands



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of other prisoners.”    Farmer v. Brennan, 511 U.S. 825, 832-33 (1994)

(quotation marks omitted).       To establish a failure-to-protect claim, an

“inmate must show that he is incarcerated under conditions posing a

substantial risk of serious harm” to his health or safety and that prison

officials acted with “‘deliberate indifference’” to that risk. Id. at 834; accord

Wade v. McDade, 106 F.4th 1251, 1261-62 (11th Cir. 2024) (en banc).

Neither prong of that inquiry has been satisfied here.

      1.a. Plaintiffs have not demonstrated that merely placing them in a

male facility will inherently subject them to an objectively substantial risk of

serious harm. For the level of risk to satisfy the first prong of this inquiry, it

must be “‘sufficiently serious’” and “objectively intolerable.” Farmer, 511

U.S. at 834, 846. “[N]ot every risk carries an inherent threat at a substantial

level, or of severity beyond the norms … .” Lakin v. Barnhart, 758 F.3d 66,

72 (1st Cir. 2014) (Souter, J.); see Murphy v. United States, 653 F.2d 637,

644 (D.C. Cir. 1981) (“[A] prisoner has no right to demand the level of

protection necessary to render an institution assault-free … .”). To qualify as

“substantial,” the risk must be “pervasive”: “violence and sexual assaults

[must] occur with sufficient frequency that prisoners are put in reasonable

fear for their safety and to reasonably apprise prison officials of the existence

of the problem and the need for protective measures.” Vandevender v. Sass,



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970 F.3d 972, 977 (8th Cir. 2020) (quotation marks omitted); see Shrader v.

White, 761 F.2d 975, 978 (4th Cir. 1985) (similar); Murphy, 653 F.2d at 644-

45 (similar).

      Having initiated these actions before being transferred to specific male

facilities,8 plaintiffs’ argument is not that a specific housing assignment

carries an objectively intolerable risk of harm. Instead, plaintiffs assert

categorically that there are no possible housing conditions at any male

facility under which plaintiffs would not be subject to an objectively

intolerable threat of abuse. There is no support for that assertion, and no

support for the necessary implication that BOP is categorically unable to

adequately manage the risk of assault for the approximately 1,466 male

trans-identifying inmates (representing 99% of all such inmates) who are

housed in male facilities. See JA174 (Stover Second Doe Decl. ¶ 5).

      As far as the undersigned counsel are aware, no federal court has ever

held that the Eighth Amendment requires BOP to house trans-identifying

inmates in opposite-sex facilities as a means of protecting them from the risk




      8  Although two plaintiffs—Rachel and Ellen Doe—were transferred
prior to joining this action, JA240-41, they “incorporate[d] by reference the
arguments made in [plaintiffs’] prior motions” that transfer to any male
facility was constitutionally impermissible, Doe, Dkt. 61-1, at 7.

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of assault.9 See Doe v. Georgia Dep’t of Corr., 730 F. Supp. 3d 1327, 1344

(N.D. Ga. 2024) (observing that even if court found “some specific and

immediate threat of harm” to male trans-identifying inmate in male facility,

court would deny request for transfer to women’s prison at PI stage);

Hampton v. Baldwin, No. 3:18-cv-550, 2018 WL 5830730, at *13, *16-17

(S.D. Ill. Nov. 7, 2018) (finding likelihood of success on merits of failure-to-

protect claim, but declining to order transfer to women’s prison at PI stage).

      b.    The district court nonetheless found that the plaintiffs had

satisfied this prong by citing “various government reports and regulations

recognizing that transgender persons are at a significantly elevated risk of

physical and sexual violence relative to other inmates when housed in a

facility corresponding to their biological sex.” JA164-65 (TRO Order 8-9).

But the government “reports and regulations” relied on by the district court

do not come close to establishing that plaintiffs face a significantly elevated




      9 And counsel are aware of only two federal district courts that have

held that a trans-identifying inmate must be moved to an opposite-sex
facility as relief under a deliberate indifference to medical needs claim. See
JJS v. Pliler, No. 19-cv-2020, 2022 WL 16578124, at *16-19 (S.D.N.Y. Aug.
3, 2022), report and recommendation adopted sub nom. Shelby v. Petrucci,
No. 19-cv-2020, 2022 WL 16575766 (S.D.N.Y. Nov. 1, 2022); Soneeya v.
Mici, 717 F. Supp. 3d 132, 134-35 (D. Mass. 2024). But see Fisher v. BOP,
No. 4:19-cv-1169, 2022 WL 2648950, at *15-16 (N.D. Ohio July 8, 2022) (no
Eighth Amendment violation where BOP had not transferred male trans-
identifying inmate to female facility).

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risk of physical and sexual assault if they are transferred to a male prison

facility. Those materials indicate merely that trans-identifying inmates are

generally more likely to be the victims of sexual violence than non-trans-

identifying inmates. See JA209 (Doe, Second Am. Compl. ¶ 105). But that

fact alone does not support the conclusion that transferring a trans-

identifying inmate to a male prison significantly increases the risk of assault.

Indeed, the government report on which plaintiffs rely indicates that the rate

of sexual victimization is almost two-and-a-half times higher at female

prisons (8.5%) than at male prisons (3.7%). U.S. Dep’t of Justice, Bureau of

Justice Statistics, Sexual Victimization in Prisons and Jails Reported by

Inmates, 2011-12, at 15 (May 2013) (Table 5), https://perma.cc/RLB3-CY8Q

(BJS Report); see id. at 54 (Appendix Table 2) (showing overall lower rates

at federal facilities, with similar disparity between male and female

facilities).

       Moreover, even if plaintiffs could show that male prisons have, on

average, higher rates of sexual assault than do female prisons, that showing

would not mean that plaintiffs necessarily face a higher risk of assault in the

facilities that BOP designated for their transfers. As the cited government

report found, many male facilities in the federal prison system have very low

rates of sexual victimization, BJS Report 48 (Appendix Table 1), including a



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number that “had no reported incidents of sexual victimization of any kind”

when surveyed, BJS Report 15. Indeed, BOP’s declarant explained that, in

“the seven facilities that the Jones and Doe plaintiffs may be transferred [to],

there was only one guilty finding … of sexual assault … in 2024.” JA391, 825

(Stover Second Jones Decl. ¶ 16). And the rates of assault generally at the

male facilities to which plaintiffs will be transferred are often lower than the

rates in the facilities where plaintiffs are currently housed.       JA390-91,

824-25 (Stover Second Jones Decl. ¶¶ 13-15).

      The district court discounted the government’s statistics because they

“do not disaggregate assaults against transgender inmates from overall rates

of assault.” JA187 n.2. But that objection is inapposite; the overall rate of

assaults in these male facilities—which already house trans-identifying

inmates—is so low that merely being housed there cannot constitute being

subject to a substantial risk of serious harm. See JA390-91, 824-25 (Stover

Second Jones Decl. ¶¶ 13-16); JA176-77, 658-59 (Stover Second Doe Decl.

¶¶ 19-24); JA396-443.

      Plaintiffs thus have not and cannot show that their transfer to a male

prison will expose them to a “pervasive” and “objectively intolerable” risk of

assault.   See Murphy, 653 F.2d at 645 (concluding that showing was

insufficient where 20 assaults occurred within calendar year and the plaintiff



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made “no attempt to show that the rate of assaults in this facility exceeded

the norm for like institutions”); Green v. Hooks, 798 F. App’x 411, 426-27

(11th Cir. 2020) (“28 reported incidents of sexual assault … over five years”

did not demonstrate “substantial risk of serious harm”).

      Under plaintiffs’ reasoning, moreover, BOP would violate the

Constitution any time it assigned to a male prison a male inmate who,

statistically speaking, faced an elevated risk of sexual assault. The absurd

results produced by plaintiffs’ theory reveal the fundamental flaw in their

Eighth Amendment claims. Many male inmates face an elevated risk of

sexual or other assault in men’s prisons based on their individual

characteristics, such as their offense of conviction, sexual orientation, mental

health, or status as a government informant. See BJS Report 18 (higher rates

of inmate-on-inmate sexual victimization among non-heterosexual inmates

than heterosexual inmates); BJS Report 19-20 (higher rates among violent

sex offenders than other offenders); BJS Report 24-26 (higher rates among

inmates with severe psychological distress than inmates without mental

health problems); Irving v. Dormire, 519 F.3d 441, 451 (8th Cir. 2008)

(observing that “an inmate who is considered to be a snitch is in danger of

being assaulted or killed by other inmates” and collecting relevant Eighth

Amendment cases). And the risks to such inmates would likely decrease, in



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some case likely dramatically, if those men were transferred to women’s

prisons. But even if there was no other way to eliminate the risk of violence

to such inmates in men’s prisons, no one would assert that it would violate

the Eighth Amendment not to house them in women’s prisons. The same is

true for the male inmates at issue here: the Constitution does not force BOP

to privilege their interests by compromising the safety and infringing upon

the privacy of female inmates in its custody.             Plaintiffs’ sweeping

understanding of the Eighth Amendment is thus plainly incorrect.

      c.    The district court also suggested, citing only to the initial Doe

complaint, that plaintiffs face a sufficiently serious risk of harm from being

housed in a male facility because such housing “by itself will exacerbate the

symptoms of their gender dysphoria.” JA165 (TRO Order 9) (“[T]he mere

homogenous presence of men will cause uncomfortable dissonance.”); see

JA187 n.2. Plaintiffs’ transfer claim is not a medical-treatment claim but

rather a failure-to-protect claim, so the district court’s point is irrelevant.

Doubly so because the Doe plaintiffs did not even rely on any such harm in

their original PI motion. See Doe, Dkt. 13-1, at 14-18. And for good reason.

The court cited no case law, secondary source, or expert testimony to suggest

that merely living in a male facility as a trans-identifying inmate with a




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diagnosis of gender dysphoria10 constitutes an “objectively intolerable risk”

to the inmate’s health as to amount to cruel and unusual punishment and

require placement in a female facility.

      Plaintiffs attempted to supply this missing support in a subsequent

declaration. See JA182-83 (Meade Doe Supp. Decl. ¶ 8). But even assuming

“resid[ing] in a men’s facility” would “worsen [plaintiffs’] gender dysphoria,”

id., that does not show that any change in the severity of symptoms would

rise to the level of an Eighth Amendment violation, particularly considering

the ways in which BOP could treat those symptoms. Nor can plaintiffs make

that showing, in light of the vast number of inmates with gender dysphoria

that can be adequately managed by BOP in male facilities.

      2.    Nor have plaintiffs shown that BOP is deliberately indifferent to

the potential risks of transferring plaintiffs to male facilities. This prong of

the inquiry requires that prison officials “kno[w] that inmates face a

substantial risk of serious harm and disregar[d] that risk by failing to take

reasonable measures to abate it.” Farmer, 511 U.S. at 847. Prison officials


      10As noted, there are approximately 1,466 male trans-identifying
inmates in BOP custody who live in male facilities, JA174 (Stover Second Doe
Decl. ¶ 5), though not all trans-identifying individuals have gender
dysphoria. And as of March 27, 2025, there were 1,028 inmates in BOP
custody being treated for gender dysphoria or incongruence. Declaration of
Chris A. Bina ¶ 7, Kingdom v. Trump, No. 1:25-cv-691 (D.D.C. Mar. 28,
2025), Dkt. 36-1.

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are not deliberately indifferent “if they responded reasonably to the risk,

even if the harm ultimately was not averted.” Id. at 844. The requirement

that officials ensure “reasonable safety” for inmates “incorporates due regard

for prison officials’ unenviable task of keeping dangerous men in safe custody

under humane conditions.” Id. at 844-45 (quotation marks omitted).

      a.    Here, BOP specifically considered the risks to plaintiffs of being

housed in male facilities. See JA307-08, 747-48 (Stover First Jones Decl.

¶¶ 8-9); JA390-91, 824-25 (Stover Second Jones Decl. ¶¶ 12-16); JA100-01,

653-54 (Stover First Doe Decl. ¶ 12); JA175-77, 657-59 (Stover Second Doe

Decl. ¶¶ 12-25); JA237, 710 (Associate Warden Doe Decl. ¶¶ 5-7); JA513, 910

(Stover Moe Decl. ¶ 11). “In determining the most appropriate placement for

transgender inmates,” BOP “takes into consideration the inmates’ assigned

security level, disciplinary record, medical record and psychology record.”

JA100, 653 (Stover First Doe Decl. ¶ 11). “Based on the [BOP

decisionmakers’] experience and range of expertise,” it determined that

“placing [plaintiffs] at a low security institution with non-violent offenders

would minimize the likelihood that they would be victimized.” JA100-01,

653-54 (Stover First Doe Decl. ¶ 12). And once plaintiffs are in particular

male facilities, BOP will further consider safety concerns and how to




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minimize the risk of victimization “in making … housing and programming

assignments.” 28 C.F.R. § 115.42(c).

      Indeed, the record already contains an example of how BOP reasonably

responds to concerns raised by trans-identifying inmates in male facilities.

Plaintiffs Rachel and Ellen Doe were transferred to a male facility before

being added to this litigation. See JA240-41. While there, “Rachel Doe

reported receiving a note that was sexual in nature from an unknown

inmate.” JA239, 710 (Associate Warden Doe Decl. ¶ 10). As a result, BOP

Special Investigative Services began an investigation into the incident. Id.

The investigation found “that Rachel did not feel threatened or concerned,”

and subsequently was “living in general population and attending recreation

without issue,” JA239, 710 (Associate Warden Doe Decl. ¶¶ 11-12), but if the

investigation had revealed a serious threat, BOP would have taken

appropriate steps to protect Doe from harm, such as by separating Doe from

the aggressor or otherwise initiating protective custody.

      BOP officials thus have responded reasonably to the risk at issue (even

assuming it is an objectively substantial one), and plaintiffs provide no

reason to doubt that BOP officials will continue to do so. The requirement

to ensure “reasonable safety” for male trans-identifying inmates—reflecting

“due regard for prison officials’ ‘unenviable task of keeping dangerous men



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in safe custody,’” Farmer, 511 U.S. at 844—does not force BOP to attempt to

eliminate the risks to such inmates entirely by harming the security, dignity,

and well-being of female inmates. Accordingly, plaintiffs cannot establish

that BOP officials were subjectively aware of a substantial risk of harm to

plaintiffs and failed to take reasonable steps to abate that risk.

      b.    The district court nonetheless concluded that BOP was

deliberately indifferent to the purportedly serious risk of harm that plaintiffs

would face from the transfer merely because BOP was aware of the cited

“government resources and regulations.” JA165 (TRO Order 9). But as

discussed, those sources do not support that these plaintiffs would face an

objectively intolerable risk in the specific male facilities to which they would

be transferred.    Nor is the mere knowledge that an inmate is trans-

identifying and will be housed among males sufficient to show deliberate

indifference. See, e.g., Farmer, 511 U.S. at 848-49 (acknowledging the

defendants’ admission that the plaintiff was a “transsexual” in a high-

security male facility, but remanding without suggesting that those facts

alone established deliberate indifference); Green, 798 F. App’x at 423.

      Plaintiffs assert to the contrary that “[c]ourts have consistently found

this element satisfied when officials knowingly house transgender women”—

i.e., males—“in men’s prisons.” Doe, Dkt. 13-1, at 16 (citing cases); Jones,



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Dkt. 21-1, at 17 (same); Moe, Dkt. 31-1, at 15 (same). That misstates the law,

as even a cursory review of the cases cited by plaintiffs shows. In none of the

cases cited by plaintiffs did a court find that the decision to house a male

trans-identifying inmate in a men’s prison was alone sufficient to establish

that prison officials deliberately disregarded a substantial risk of harm to the

inmate. In each case, the court found that additional, case-specific factors

heightened the risk of assault, and that it was the officials’ disregard of these

additional factors that demonstrated their failure to take reasonable steps to

protect the plaintiff from harm. See, e.g., Doe v. District of Columbia, 215 F.

Supp. 3d 62, 77-80 (D.D.C. 2016) (knowledge that the plaintiff was supposed

to be housed alone, but unnecessarily placed male inmate in cell with

plaintiff “unsupervised overnight” without performing security checks or

following transfer protocols); Stover v. Corrections Corp. of Am., No. 1:12-

cv-393, 2015 WL 874288, at *6-10 (D. Idaho Feb. 27, 2015) (prior reporting

of “generalized information about assaults by” gang-member assailants,

plaintiff’s requests to move for safety reasons, and open-dorm setting

housing exclusively sex offenders); Lojan v. Crumbsie, No. 12-cv-320, 2013

WL 411356, at *4 (S.D.N.Y. Feb. 1, 2013) (knowledge of vulnerability and

allowing individual with history of violence “access to [the plaintiff] as a

trustee”); Zollicoffer v. Livingston, 169 F. Supp. 3d 687, 689-92, 696 (S.D.



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Tex. 2016) (the plaintiff reported over a dozen incidents of assault to prison

officials in facilities with documented issues involving sexual abuse of gay

and trans-identifying inmates). Plaintiffs point to no such factors here.

      3.    The district court also concluded that BOP was likely deliberately

indifferent to the risks to plaintiffs of being housed in male facilities because

BOP had previously “determined that women’s facilities are the appropriate

facilities for Plaintiffs under the prevailing legal regime,” but now seeks to

“remov[e] Plaintiffs from their appropriate housing assignment” due

“sole[ly]” to the implementation of EO 14168. JA446-47; see JA186-87. This

fundamentally misunderstands the nature of BOP’s designation authority

and its exercise with respect to trans-identifying inmates.

      Contrary to the district court’s supposition, BOP’s prior decisions to

house plaintiffs in opposite-sex facilities were not based solely on safety

considerations. Rather, BOP considered a number of factors, including: “an

inmate’s security level, criminal and behavioral/disciplinary history, current

gender     expression,     programming,      medical,   and     mental    health

needs/information, vulnerability to sexual victimization, and likelihood of

perpetrating abuse,” as well as “facility-specific factors, including inmate

populations, staffing patterns, and physical layouts.”        JA125.     In some

circumstances, inmates were “placed in a women’s facility due to court



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orders,” as part “of a settlement agreement,” or “because they were already

being housed with women prior to coming into [BOP] custody.” JA393

(Stover Second Jones Decl. ¶ 24). And some inmates were transferred to an

opposite-sex facility to “progres[s] the individual inmate’s transition” to the

opposite sex as required under the prior BOP policy for cross-sex surgeries.

JA126; JA393 (Stover Second Jones Decl. ¶ 24) (noting that Zoe and Mary

Doe fall into this category). There is no reason to think that BOP’s previous

determinations to house plaintiffs in female facilities reflected a judgment

on the part of BOP that it would be categorically, unconstitutionally unsafe

to house them in any male facility.

      In any event, even if plaintiffs had been housed in female facilities

based purely on safety concerns, the Eighth Amendment does not bar BOP

from revisiting those assignments and determining that different housing

designations are appropriate. “It is well settled that the decision where to

house inmates is at the core of prison administrators’ expertise.” McKune v.

Lile, 536 U.S. 24, 39 (2002). In making such decisions, the Constitution does

not require prison administrators to prioritize the safety of an individual

prisoner over all other considerations. See, e.g., Calhoun v. DeTella, 319

F.3d 936, 939 (7th Cir. 2003) (The Eighth Amendment is not violated where

the action challenged was taken for “a legitimate penological purpose.”).



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BOP has a legitimate penological interest in the privacy, well-being, and

security of female inmates. That BOP is now placing more weight on those

interests when making housing assignments than it did in the recent past

does not violate the Constitution.

II.   Plaintiffs Have Not Satisfied                The      Remaining
      Preliminary-Injunction Factors.

      In seeking a preliminary injunction, plaintiffs also have “the burden to

show … that they are likely to suffer irreparable harm in the absence of

preliminary relief, and that the balance of equities, including the public

interest, tips in their favor.” Wrenn v. District of Columbia, 864 F.3d 650,

667 (D.C. Cir. 2017) (alterations and quotation marks omitted); see

MediNatura, Inc. v. FDA, 998 F.3d 931, 945 (D.C. Cir. 2021) (“If the

government is the party sought to be enjoined, the public interest and

balance of equities factors merge.”). Plaintiffs have failed to establish those

factors here.

      A.    Plaintiffs have not demonstrated that they will likely suffer

irreparable harm from the transfer to male facilities. This Court has “set a

high standard for irreparable injury”: to qualify, an injury must be “both

certain and great,” “actual and not theoretical,” “imminen[t],” and “beyond

remediation.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d

290, 297-98 (D.C. Cir. 2006) (emphasis and quotation marks omitted)


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(holding that “tangible injury” was too “hypothetical” where challenged

practice merely “reduce[d the] Appellants’ opportunities for promotion”).

      Here, plaintiffs fear that they will be the victims of violence and sexual

abuse if transferred to male facilities. See Doe, Dkt. 13-1, at 22-23; Doe, Dkt.

50-1, at 23; Jones, Dkt. 38, at 9; Jones, Dkt. 21-1, at 21-22; Moe, Dkt. 4, at

19-20. But they have not shown that any such physical harm is likely, much

less certain. Rather, plaintiffs allege only that the risk of such violence is

increased in male facilities generally. See supra pp. 36-37. And the cases

plaintiffs cite do not stand for the proposition that merely being housed in

male facilities and exposed to the possibility of violence therein is per se an

irreparable injury for preliminary injunction purposes.11

      Nor can plaintiffs succeed in demonstrating that the tangible injury

they fear is sufficiently imminent and certain, given that the vast majority of

male trans-identifying inmates are currently housed in male facilities and

BOP will take steps to minimize any risk to plaintiffs by, among other things,



      11 Tay v. Dennison, 457 F. Supp. 3d 657, 687 (S.D. Ill. 2020) (finding

irreparable injury where the plaintiff was “forced to endure constant sexual
abuse” and “sexually assaulted, harassed, and threatened” by “multiple
prisoners”); Hampton, 2018 WL 5830730, at *15 (finding irreparable harm
where the plaintiff “continues to be sexually assaulted and prison officials
refuse to do anything to protect her”); Greene v. Bowles, 361 F.3d 290, 292
(6th Cir. 2004) (not involving PI motion or irreparable injury); Becker v.
Sherman, No. 16-cv-828, 2017 WL 6316836, at *5 (E.D. Cal. Dec. 11, 2017)
(same); Lojan, 2013 WL 411356, at *4 (same).

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transferring them to low-security institutions with non-violent offenders.12

The possibility that these specific plaintiffs will be victimized in the low-

security facilities that BOP has identified for their housing thus “fail[s] to rise

beyond the speculative level.”       Citizens for Responsibility & Ethics in

Washington v. Federal Election Comm’n, 904 F.3d 1014, 1019 (D.C. Cir.

2018) (per curiam); see Hanson v. District of Columbia, 120 F.4th 223, 245

(D.C. Cir. 2024) (per curiam) (“‘[S]imply showing some possibility of

irreparable injury’ is not sufficient to make the irreparable harm showing

needed to obtain preliminary relief.”).

      The district court nonetheless concluded that plaintiffs had

demonstrated irreparable harm related to transfer based on the “prospective

violation of a constitutional right.” JA166 (TRO Order 10) (quoting Davis v.

District of Columbia, 158 F.3d 1342, 1346 (D.C. Cir. 1998)). As discussed,

supra Part I, plaintiffs are not likely to succeed in showing any such violation.

Moreover, this Court has clarified that it does not “‘axiomatically’ find that a

plaintiff will suffer irreparable harm simply because it alleges a violation of

its [constitutional] rights.” Hanson, 120 F.4th at 244.


      12 Indeed, the two newest Doe plaintiffs—who were transferred to and

briefly housed in a low-security male facility before joining this action—made
no allegations that they had been subjected to any physical harm during that
period. See JA229-30, 700-01 (Ellen Doe Decl.); JA232-34, 703-05 (Rachel
Doe Decl.).

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      As to Rachel and Ellen Doe only, the district court also stated that “the

fact that they have already been transferred and, allegedly, have been abused

at their new facilities can only strengthen their claims of irreparable harm.”

JA241-42. The record, however, reveals only that the two allegedly had been

subjected to unwanted attention and propositioned for sex at the new male

facilities. See JA230, 701 (Ellen Doe Decl. ¶ 8); JA233-34, 704-05 (Rachel

Doe Decl. ¶¶ 11-12). Those plaintiffs asserted that they were in “fear of sexual

assault and other violence,” Doe, Dkt. 61-1, at 9—not that they had actually

experienced any since their recent transfer to low-security male facilities.13

Although plaintiffs seem to suggest that experiencing fear of potential

victimization alone is an irreparable injury, id., such intangible and

subjective allegations of harm are insufficient, see Does 1-26 v. Musk, No.

25-1273, 2025 WL 1020995, at *5 (4th Cir. Mar. 28, 2025) (“[S]ubjective fear

that is remote and speculative is insufficient to show the required actual and

imminent harm to establish irreparability.”).

      As the Supreme Court has explained with respect to the analogous

standing inquiry, “[i]t is the reality of the threat of repeated injury that is


      13  Moreover, as a government declarant explained, one of these
plaintiffs had “not made any complaints of sexual harassment,” and the other
indicated to BOP Special Investigative Services that the inmate “did not feel
threatened or concerned” despite receiving a note “that was sexual in
nature.” JA239, 710 (Associate Warden Doe Decl. ¶¶ 9-12).

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relevant … not the plaintiff’s subjective apprehensions.        The emotional

consequences of a prior act simply are not a sufficient basis for an injunction

absent a real and immediate threat of future injury … .” City of Los Angeles

v. Lyons, 461 U.S. 95, 107 n.8 (1983); see Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 184 (2000) (“‘subjective

apprehensions’ that … recurrence [of feared conduct] would even take place

were not enough to support standing” in Lyons); see also Hange v. City of

Mansfield, 257 F. App’x 887, 893 (6th Cir. 2007); Finstuen v. Crutcher, 496

F.3d 1139, 1144 (10th Cir. 2007). Although plaintiffs might worry about

violence if housed in male facilities, that subjective concern alone does not

constitute irreparable injury.

      Plaintiffs’ failure to adequately establish that they will likely suffer

irreparable injury is sufficient to require vacatur of the preliminary

injunctions in these cases. See Alpine Sec. Corp. v. FINRA, 121 F.4th 1314,

1336 (D.C. Cir. 2024) (“[A] movant’s failure to show any irreparable harm is

grounds for refusing to issue a preliminary injunction … .” (alteration and

quotation marks omitted)).

      B.    The district court further erred in concluding that the balance of

the equities and public interest favor the issuance of these injunctions.

JA166-67 (TRO Order 10-11).



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      The President, as the head of the Executive Branch with ultimate

responsibility for the operation of its prisons, has deemed it important to

protect the safety, well-being, and privacy of female inmates in intimate

spaces when they are in federal custody. EO 14168, §§ 1, 4, 90 Fed. Reg. at

8615-16. And that determination is consistent with BOP’s expert policy

judgment. See JA392-93, 826-27 (Stover Second Jones Decl. ¶¶ 20, 23) (“It

is [B]OP’s correctional judgment that housing inmates with inmates of their

own biological sex ensures bodily privacy and safety and limits the risk of

sexual abuse, disciplinary problems, and illicit intimate relationships.”).

Regardless of the public debate over these issues, there is a public interest in

deferring to the Executive Branch’s determination as to the operations of the

federal prisons. By contrast, forcing BOP to effectively “keep in place a

[former housing policy] that no longer reflects its current … thinking … is not

in the public interest.” MediNatura, 998 F.3d at 945.

      The preliminary injunctions impermissibly interfere with the

government’s administration of its federal prisons and the execution of

Executive Branch policy. “[P]rison administrators, and not the courts, are to

make the difficult judgments concerning institutional operations.” Turner

v. Safley, 482 U.S. 78, 89 (1987) (alterations and quotation marks omitted).

And “[i]t is well settled that the decision where to house inmates,” in



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particular, “is at the core of prison administrators’ expertise.” McKune, 536

U.S. at 39. This Court has accordingly recognized the need to “accord prison

administrators wide-ranging deference in the adoption and execution of

policies and practices that in their judgment are needed to preserve internal

order and discipline and to maintain institutional security.”        Hatim v.

Obama, 760 F.3d 54, 59 (D.C. Cir. 2014) (alterations, emphasis, and

quotation marks omitted). The district court failed to do so here.

      Instead, the court second-guessed the strength of Executive Branch

policy interests, suggesting that any “deleterious effect on privacy and

security” for female inmates was irrelevant because “there are only about

sixteen” male trans-identifying inmates “housed in female penitentiaries,”

and that BOP could “manage[]” the “threat to the female inmates housed

with them” “locally by prison staff.” JA166-67 (TRO Order 10-11). It is not

the prerogative of the district court to dictate the management of federal

prisons or countermand the President’s express judgment that the

implementation of this housing policy is necessary to serve the public

interest in protecting female inmates.       To the contrary, such policy

judgments    and     governmental   interests    merit    particularly   strong

consideration under the PLRA, which requires courts to “give substantial

weight to any adverse impact on public safety or the operation of a criminal



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justice system” that would be caused by the requested preliminary-injunctive

relief. 18 U.S.C. §3626(a)(2).14

      The Executive Branch interests at stake thus clearly outweigh

plaintiffs’ speculative assertions regarding the possible risks of being housed

in low-security male facilities.     In nevertheless granting these broad

preliminary injunctions, the district court abused its discretion.

III. The Preliminary Injunctions At Issue Violate The PLRA.

      At a minimum, this Court should vacate the preliminary injunctions

for failure to comply with the PLRA’s relief provisions. The PLRA contains

specific restrictions on the grant of “preliminary injunctive relief” “with

respect to prison conditions.” 18 U.S.C. § 3626(a)(2). Any such relief must

be “narrowly drawn, extend no further than necessary to correct the harm

the court finds requires preliminary relief, and be the least intrusive means



      14 See, e.g., Baxter v. Wexford Healthcare, No. 16-cv-291, 2017 WL

2772333, at *3 (W.D. Pa. June 27, 2017) (observing that “harm to the
nonmoving party” and “public interest” factors are “especially important” in
the correctional context given 18 U.S.C. § 3626(a)); Bryant v. Johnson, No.
7:11-cv-75, 2012 WL 4459930, at *3 (W.D. Va. June 15, 2012) (“Efficient and
effective penal administration furthers the public’s interest, and involving a
federal court in the day-to-day administration of a prison is a course the
judiciary generally disapproves of taking.” (citing 18 U.S.C. § 3626(a)(2));
Matheis v. CDCR, No. 20-cv-2100, 2021 WL 718603, at *4 (S.D. Cal. Feb. 24,
2021) (“The Court cannot substitute CDCR’s own judgment on what would
best serve the public interest, such as calculating whether transferring an
inmate during times of COVID-19 would be net beneficial.” (citing 18 U.S.C.
§ 3626(a)(2)).

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necessary to correct that harm.” Id. The district court did not make any such

findings in the first five PI orders that these requirements were satisfied.

Compare JA242-43 (PLRA findings), with JA157-67 (TRO Order 1-11) (no

findings); JA168-69 (same); JA185-88 (same); JA333-34 (same); JA445-49

(same); JA569-71 (same).          That failure alone requires “immediate

termination” of all but the final Doe PI order. 18 U.S.C. § 3626(b)(2).

      And for the final Doe PI order, the district court engaged in only a brief

and cursory analysis. JA242-43. But the PLRA requires much more. See

Hoffer v. Secretary, Fla. Dep’t of Corr., 973 F.3d 1263, 1278-79 (11th Cir.

2020) (holding that a “one-sentence, boilerplate paragraph … regarding

PLRA compliance”—akin to “just append[ing] a rote, catch-all assertion that

‘the permanent injunction satisfies the [PLRA]’”—was ‘seriously deficient’”);

Cason v. Seckinger, 231 F.3d 777, 785 (11th Cir. 2000) (explaining that

analogous provision of PLRA requires not just a “summary conclusion,” but

rather “particularized findings, on a provision-by-provision basis, that each

requirement imposed … satisfies the need-narrowness-intrusiveness

criteria, given the nature of the current and ongoing violation”).

      Moreover, with respect to all 20 plaintiffs, the district court

determined that to remedy the risk of harm they might face in a male facility,

plaintiffs must be kept in female facilities. It should be self-evident, however,



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that there are better-tailored and less-intrusive means through which BOP

can address the risk of harm to male trans-identifying inmates in male

facilities.   See Farmer, 511 U.S. at 831 (seeking injunction against

confinement in higher-security male facility as relief for failure-to-protect

claim). Indeed, the record reflects that BOP intends to pursue such means

with respect to these plaintiffs, both regarding their initial transfer to and

their experience in the new male facilities. See, e.g., JA307-10, 747-50

(Stover First Jones Decl. ¶¶ 8-16); JA390-91, 94, 824-25, 828 (Stover Second

Jones Decl. ¶¶ 11-16, 25-26). Vacatur of the preliminary-injunction orders as

to the transfer of plaintiffs to male facilities is thus further warranted on this

basis.




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                             CONCLUSION

       For the foregoing reasons, the preliminary-injunction orders of the

district court should be vacated insofar as they enjoin BOP from

implementing Section 4(a) of EO 14168 and transferring plaintiffs to male

facilities.

                                      Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 12,538 words. This brief

also complies with the typeface and type-style requirements of Federal Rule

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                                           /s/ McKaye L. Neumeister
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                      CERTIFICATE OF SERVICE

      I hereby certify that on May 9, 2025, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for

the District of Columbia Circuit by using the appellate CM/ECF system.



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18 U.S.C. § 3621
§ 3621. Imprisonment of a convicted person
***
    (b) Place of imprisonment.--The Bureau of Prisons shall designate
the place of the prisoner's imprisonment, and shall, subject to bed
availability, the prisoner's security designation, the prisoner's programmatic
needs, the prisoner's mental and medical health needs, any request made by
the prisoner related to faith-based needs, recommendations of the
sentencing court, and other security concerns of the Bureau of Prisons, place
the prisoner in a facility as close as practicable to the prisoner's primary
residence, and to the extent practicable, in a facility within 500 driving miles
of that residence. The Bureau shall, subject to consideration of the factors
described in the preceding sentence and the prisoner's preference for staying
at his or her current facility or being transferred, transfer prisoners to
facilities that are closer to the prisoner's primary residence even if the
prisoner is already in a facility within 500 driving miles of that residence.
The Bureau may designate any available penal or correctional facility that
meets minimum standards of health and habitability established by the
Bureau, whether maintained by the Federal Government or otherwise and
whether within or without the judicial district in which the person was
convicted, that the Bureau determines to be appropriate and suitable,
considering--
    (1) the resources of the facility contemplated;
    (2) the nature and circumstances of the offense;
    (3) the history and characteristics of the prisoner;
    (4) any statement by the court that imposed the sentence--
       (A) concerning the purposes for which the sentence to imprisonment
      was determined to be warranted; or
       (B) recommending a type of penal or correctional facility as
      appropriate; and
    (5) any pertinent policy statement issued by the Sentencing Commission
    pursuant to section 994(a)(2) of title 28.
In designating the place of imprisonment or making transfers under this
subsection, there shall be no favoritism given to prisoners of high social or
economic status. The Bureau may at any time, having regard for the same

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matters, direct the transfer of a prisoner from one penal or correctional
facility to another. The Bureau shall make available appropriate substance
abuse treatment for each prisoner the Bureau determines has a treatable
condition of substance addiction or abuse. Any order, recommendation, or
request by a sentencing court that a convicted person serve a term of
imprisonment in a community corrections facility shall have no binding
effect on the authority of the Bureau under this section to determine or
change the place of imprisonment of that person. Notwithstanding any other
provision of law, a designation of a place of imprisonment under this
subsection is not reviewable by any court.
****


18 U.S.C. § 3626
§ 3626. Appropriate remedies with respect to prison conditions
    (a) Requirements for relief.--
        (1) Prospective relief.--(A) Prospective relief in any civil action
    with respect to prison conditions shall extend no further than necessary
    to correct the violation of the Federal right of a particular plaintiff or
    plaintiffs. The court shall not grant or approve any prospective relief
    unless the court finds that such relief is narrowly drawn, extends no
    further than necessary to correct the violation of the Federal right, and is
    the least intrusive means necessary to correct the violation of the Federal
    right. The court shall give substantial weight to any adverse impact on
    public safety or the operation of a criminal justice system caused by the
    relief.
       (B) The court shall not order any prospective relief that requires or
      permits a government official to exceed his or her authority under State
      or local law or otherwise violates State or local law, unless--
          (i) Federal law requires such relief to be ordered in violation of
       State or local law;
           (ii) the relief is necessary to correct the violation of a Federal
       right; and
           (iii) no other relief will correct the violation of the Federal right.
       (C) Nothing in this section shall be construed to authorize the courts,
      in exercising their remedial powers, to order the construction of

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      prisons or the raising of taxes, or to repeal or detract from otherwise
      applicable limitations on the remedial powers of the courts.
        (2) Preliminary injunctive relief.--In any civil action with
    respect to prison conditions, to the extent otherwise authorized by law,
    the court may enter a temporary restraining order or an order for
    preliminary injunctive relief. Preliminary injunctive relief must be
    narrowly drawn, extend no further than necessary to correct the harm the
    court finds requires preliminary relief, and be the least intrusive means
    necessary to correct that harm. The court shall give substantial weight to
    any adverse impact on public safety or the operation of a criminal justice
    system caused by the preliminary relief and shall respect the principles
    of comity set out in paragraph (1)(B) in tailoring any preliminary relief.
    Preliminary injunctive relief shall automatically expire on the date that is
    90 days after its entry, unless the court makes the findings required
    under subsection (a)(1) for the entry of prospective relief and makes the
    order final before the expiration of the 90-day period.
        (3) Prisoner release order.--(A) In any civil action with respect
    to prison conditions, no court shall enter a prisoner release order unless-
    -
           (i) a court has previously entered an order for less intrusive relief
       that has failed to remedy the deprivation of the Federal right sought
       to be remedied through the prisoner release order; and
          (ii) the defendant has had a reasonable amount of time to comply
       with the previous court orders.
       (B) In any civil action in Federal court with respect to prison
      conditions, a prisoner release order shall be entered only by a three-
      judge court in accordance with section 2284 of title 28, if the
      requirements of subparagraph (E) have been met.
       (C) A party seeking a prisoner release order in Federal court shall file
      with any request for such relief, a request for a three-judge court and
      materials sufficient to demonstrate that the requirements of
      subparagraph (A) have been met.
       (D) If the requirements under subparagraph (A) have been met, a
      Federal judge before whom a civil action with respect to prison
      conditions is pending who believes that a prison release order should
      be considered may sua sponte request the convening of a three-judge
      court to determine whether a prisoner release order should be entered.

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       (E) The three-judge court shall enter a prisoner release order only if
      the court finds by clear and convincing evidence that--
           (i) crowding is the primary cause of the violation of a Federal
       right; and
           (ii) no other relief will remedy the violation of the Federal right.
       (F) Any State or local official including a legislator or unit of
      government whose jurisdiction or function includes the appropriation
      of funds for the construction, operation, or maintenance of prison
      facilities, or the prosecution or custody of persons who may be released
      from, or not admitted to, a prison as a result of a prisoner release order
      shall have standing to oppose the imposition or continuation in effect
      of such relief and to seek termination of such relief, and shall have the
      right to intervene in any proceeding relating to such relief.
    (b) Termination of relief.--
        (1) Termination of prospective relief.--(A) In any civil action
    with respect to prison conditions in which prospective relief is ordered,
    such relief shall be terminable upon the motion of any party or
    intervener--
          (i) 2 years after the date the court granted or approved the
       prospective relief;
          (ii) 1 year after the date the court has entered an order denying
       termination of prospective relief under this paragraph; or
           (iii) in the case of an order issued on or before the date of
       enactment of the Prison Litigation Reform Act, 2 years after such date
       of enactment.
       (B) Nothing in this section shall prevent the parties from agreeing to
      terminate or modify relief before the relief is terminated under
      subparagraph (A).
        (2) Immediate termination of prospective relief.--In any civil
    action with respect to prison conditions, a defendant or intervener shall
    be entitled to the immediate termination of any prospective relief if the
    relief was approved or granted in the absence of a finding by the court
    that the relief is narrowly drawn, extends no further than necessary to
    correct the violation of the Federal right, and is the least intrusive means
    necessary to correct the violation of the Federal right.

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        (3) Limitation.--Prospective relief shall not terminate if the court
    makes written findings based on the record that prospective relief
    remains necessary to correct a current and ongoing violation of the
    Federal right, extends no further than necessary to correct the violation
    of the Federal right, and that the prospective relief is narrowly drawn and
    the least intrusive means to correct the violation.
        (4) Termination or modification of relief.--Nothing in this
    section shall prevent any party or intervener from seeking modification
    or termination before the relief is terminable under paragraph (1) or (2),
    to the extent that modification or termination would otherwise be legally
    permissible.
****


42 U.S.C. § 1997e
§ 1997e. Suits by prisoners
    (a) Applicability of administrative remedies
    No action shall be brought with respect to prison conditions under
section 1983 of this title, or any other Federal law, by a prisoner confined in
any jail, prison, or other correctional facility until such administrative
remedies as are available are exhausted.
****


28 C.F.R. § 115.41
§ 115.41. Screening for risk of victimization and abusiveness
   (a) All inmates shall be assessed during an intake screening and upon
transfer to another facility for their risk of being sexually abused by other
inmates or sexually abusive toward other inmates.
    (b) Intake screening shall ordinarily take place within 72 hours of arrival
at the facility.
    (c) Such assessments shall be conducted using an objective screening
instrument.
    (d) The intake screening shall consider, at a minimum, the following
criteria to assess inmates for risk of sexual victimization:

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       (1) Whether the inmate has a mental, physical, or developmental
    disability;
       (2) The age of the inmate;
       (3) The physical build of the inmate;
       (4) Whether the inmate has previously been incarcerated;
       (5) Whether the inmate's criminal history is exclusively nonviolent;
       (6) Whether the inmate has prior convictions for sex offenses against
    an adult or child;
       (7) Whether the inmate is or is perceived to be gay, lesbian, bisexual,
    transgender, intersex, or gender nonconforming;
        (8) Whether the inmate has previously experienced sexual
    victimization;
       (9) The inmate's own perception of vulnerability; and
       (10) Whether the inmate is detained solely for civil immigration
    purposes.
   (e) The initial screening shall consider prior acts of sexual abuse, prior
convictions for violent offenses, and history of prior institutional violence or
sexual abuse, as known to the agency, in assessing inmates for risk of being
sexually abusive.
    (f) Within a set time period, not to exceed 30 days from the inmate's
arrival at the facility, the facility will reassess the inmate's risk of
victimization or abusiveness based upon any additional, relevant
information received by the facility since the intake screening.
    (g) An inmate's risk level shall be reassessed when warranted due to a
referral, request, incident of sexual abuse, or receipt of additional
information that bears on the inmate's risk of sexual victimization or
abusiveness.
    (h) Inmates may not be disciplined for refusing to answer, or for not
disclosing complete information in response to, questions asked pursuant to
paragraphs (d)(1), (d)(7), (d)(8), or (d)(9) of this section.
    (i) The agency shall implement appropriate controls on the
dissemination within the facility of responses to questions asked pursuant to
this standard in order to ensure that sensitive information is not exploited to
the inmate's detriment by staff or other inmates.

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28 C.F.R. § 115.42
§ 115.42. Use of screening information
    (a) The agency shall use information from the risk screening required by
§ 115.41 to inform housing, bed, work, education, and program assignments
with the goal of keeping separate those inmates at high risk of being sexually
victimized from those at high risk of being sexually abusive.
   (b) The agency shall make individualized determinations about how to
ensure the safety of each inmate.
    (c) In deciding whether to assign a transgender or intersex inmate to a
facility for male or female inmates, and in making other housing and
programming assignments, the agency shall consider on a case-by-case basis
whether a placement would ensure the inmate's health and safety, and
whether the placement would present management or security problems.
    (d) Placement and programming assignments for each transgender or
intersex inmate shall be reassessed at least twice each year to review any
threats to safety experienced by the inmate.
   (e) A transgender or intersex inmate's own views with respect to his or
her own safety shall be given serious consideration.
   (f) Transgender and intersex inmates shall be given the opportunity to
shower separately from other inmates.
    (g) The agency shall not place lesbian, gay, bisexual, transgender, or
intersex inmates in dedicated facilities, units, or wings solely on the basis of
such identification or status, unless such placement is in a dedicated facility,
unit, or wing established in connection with a consent decree, legal
settlement, or legal judgment for the purpose of protecting such inmates.


28 C.F.R. § 542.13
§ 542.13. Informal resolution
    (a) Informal resolution. Except as provided in § 542.13(b), an inmate
shall first present an issue of concern informally to staff, and staff shall
attempt to informally resolve the issue before an inmate submits a Request
for Administrative Remedy. Each Warden shall establish procedures to allow
for the informal resolution of inmate complaints.
   (b) Exceptions. Inmates in CCCs are not required to attempt informal
resolution. An informal resolution attempt is not required prior to
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submission to the Regional or Central Office as provided for in § 542.14(d)
of this part. An informal resolution attempt may be waived in individual
cases at the Warden or institution Administrative Remedy Coordinator's
discretion when the inmate demonstrates an acceptable reason for bypassing
informal resolution.


28 C.F.R. § 542.14
§ 542.14. Initial filing
    (a) Submission. The deadline for completion of informal resolution
and submission of a formal written Administrative Remedy Request, on the
appropriate form (BP–9), is 20 calendar days following the date on which
the basis for the Request occurred.
    (b) Extension. Where the inmate demonstrates a valid reason for delay,
an extension in filing time may be allowed. In general, valid reason for delay
means a situation which prevented the inmate from submitting the request
within the established time frame. Valid reasons for delay include the
following: an extended period in-transit during which the inmate was
separated from documents needed to prepare the Request or Appeal; an
extended period of time during which the inmate was physically incapable of
preparing a Request or Appeal; an unusually long period taken for informal
resolution attempts; indication by an inmate, verified by staff, that a
response to the inmate's request for copies of dispositions requested under §
542.19 of this part was delayed.
    (c) Form.
        (1) The inmate shall obtain the appropriate form from CCC staff or
    institution staff (ordinarily, the correctional counselor).
        (2) The inmate shall place a single complaint or a reasonable number
    of closely related issues on the form. If the inmate includes on a single
    form multiple unrelated issues, the submission shall be rejected and
    returned without response, and the inmate shall be advised to use a
    separate form for each unrelated issue. For DHO and UDC appeals, each
    separate incident report number must be appealed on a separate form.
        (3) The inmate shall complete the form with all requested identifying
    information and shall state the complaint in the space provided on the
    form. If more space is needed, the inmate may use up to one letter-size
    (8 ½ ” by 11”) continuation page. The inmate must provide an additional

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    copy of any continuation page. The inmate must submit one copy of
    supporting exhibits. Exhibits will not be returned with the response.
    Because copies of exhibits must be filed for any appeal (see §
    542.15(b)(3)), the inmate is encouraged to retain a copy of all exhibits for
    his or her personal records.
        (4) The inmate shall date and sign the Request and submit it to the
    institution staff member designated to receive such Requests (ordinarily
    a correctional counselor). CCC inmates may mail their Requests to the
    CCM.
    (d) Exceptions to initial filing at institution—
        (1) Sensitive issues. If the inmate reasonably believes the issue is
    sensitive and the inmate's safety or well-being would be placed in danger
    if the Request became known at the institution, the inmate may submit
    the Request directly to the appropriate Regional Director. The inmate
    shall clearly mark “Sensitive” upon the Request and explain, in writing,
    the reason for not submitting the Request at the institution. If the
    Regional Administrative Remedy Coordinator agrees that the Request is
    sensitive, the Request shall be accepted. Otherwise, the Request will not
    be accepted, and the inmate shall be advised in writing of that
    determination, without a return of the Request. The inmate may pursue
    the matter by submitting an Administrative Remedy Request locally to
    the Warden. The Warden shall allow a reasonable extension of time for
    such a resubmission.
       (2) DHO appeals. DHO appeals shall be submitted initially to the
    Regional Director for the region where the inmate is currently located.
       (3) Control Unit appeals. Appeals related to Executive Panel
    Reviews of Control Unit placement shall be submitted directly to the
    General Counsel.
        (4) Controlled housing status appeals. Appeals related to the
    Regional Director's review of controlled housing status placement may
    be filed directly with the General Counsel.
        (5) Other requests for formal review of decisions not
    originating from the Warden. Other than the exceptions listed
    above, formal administrative remedy requests regarding initial decisions
    that did not originate with the Warden, or his/her staff, may be initially
    filed with the Bureau office which made the original decision, and
    appealed directly to the General Counsel.

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28 C.F.R. § 542.15
§ 542.15. Appeals
    (a) Submission. An inmate who is not satisfied with the Warden's
response may submit an Appeal on the appropriate form (BP–10) to the
appropriate Regional Director within 20 calendar days of the date the
Warden signed the response. An inmate who is not satisfied with the
Regional Director's response may submit an Appeal on the appropriate form
(BP–11) to the General Counsel within 30 calendar days of the date the
Regional Director signed the response. When the inmate demonstrates a
valid reason for delay, these time limits may be extended. Valid reasons for
delay include those situations described in § 542.14(b) of this part. Appeal to
the General Counsel is the final administrative appeal.
    (b) Form.
       (1) Appeals to the Regional Director shall be submitted on the form
    designed for regional Appeals (BP–10) and accompanied by one
    complete copy or duplicate original of the institution Request and
    response. Appeals to the General Counsel shall be submitted on the form
    designed for Central Office Appeals (BP–11) and accompanied by one
    complete copy or duplicate original of the institution and regional filings
    and their responses. Appeals shall state specifically the reason for appeal.
        (2) An inmate may not raise in an Appeal issues not raised in the lower
    level filings. An inmate may not combine Appeals of separate lower level
    responses (different case numbers) into a single Appeal.
        (3) An inmate shall complete the appropriate form with all requested
    identifying information and shall state the reasons for the Appeal in the
    space provided on the form. If more space is needed, the inmate may use
    up to one letter-size (8 ½ ” x 11”) continuation page. The inmate shall
    provide two additional copies of any continuation page and exhibits with
    the regional Appeal, and three additional copies with an Appeal to the
    Central Office (the inmate is also to provide copies of exhibits used at the
    prior level(s) of appeal). The inmate shall date and sign the Appeal and
    mail it to the appropriate Regional Director, if a Regional Appeal, or to
    the National Inmate Appeals Administrator, Office of General Counsel, if
    a Central Office Appeal (see 28 CFR part 503 for information on locating
    Bureau addresses).


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